Case 3:16-cv-00463-JWD-RLB Document 2-3 07/13/16 Page 1 of 19

Exhibit E
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
Case 3:16-cv-00463-JWD-RLB Document 2-3 07/13/16 Page 5 of 19

Exhibit F
IN THE UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF LOUISIANA

American Civil Liberties Union of Louisiana; Louisiana
Chapter of the National Lawyers’ Guild; New Orleans Workers’
Center for Racial Justice; Black Youth Project 100,

Plaintiffs,
-VS-

City of Baton Rouge; Baton Rouge Police Department; Carl
Dabadie, Jr., in his official capacity as Chief of the Baton Rouge
Police Department; Louisiana State Police; Louisinana
Department of Public Safety; Col. Michael Edmonson, in his
official capacity as Superintendent of the Louisiana State Police;
East Baton Rouge Sheriff's Department; Sid J. Gautreaux III, in
his official capacity as Sheriff of the East Baton Rouge Sheriff's
Department; Jeff Landry, in his official capacity as Attorney
General of the State of Louisiana; Kip Holden in his official
capacity as the Mayor-President of East Baton Rouge Parish;
Hillar C. Moore, JH, in his offictal capacity as District Attorney
for East Baton Rouge Parish; Department of Public Safety
(Louisiana State Police)

Defendants.

DECLARATION OF HANNAH ADAMS

Pursuant to 28 U.S.C.§ 1746, I hereby declare as follows:

 

CIVIL ACTION
NO.:

Motion for Temporary
Restraining Order
and Preliminary
Injunction

Oral Argument
Requested

1. My name is Hannah Adams. My date of birth is April 14, 1985.

2. I attended a protest in downtown Baton Rouge on Sunday July 10, 2016. lama
member of the National Lawyers Guild, and I was working as a legal observer.

3. At about 5:30 PM a group of peaceful protesters walked from the Wesley United
Methodist Church down Government Street toward East Blvd. The protesters
were chanting and holding signs. Shortly thereafter five or six police vehicles and
fifteen to twenty police officers arrived and told the protesters that they could not
be on Government Street. There were at least two officers in full riot gear with

assault rifles. | saw one officer with flex cuffs.

4. The group of protesters turned down East Blvd. and gathered in front of a house.
The protesters continued peacefully chanting and holding signs in front of the

house.
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. A little after 6:00 my legal observer partner and | walked down East Blvd. We

saw a group of police and police vehicles staging at the end of Europe Street.

Shortly thereafter we saw a group of probably 40 to 50 police officers begin
advancing down France Street in military-type formation. They had a military-
style vehicle with them. They were wearing gas masks and holding assault rifles
and rubber bullet guns. They began advancing toward the crowd. The vehicle
also began to advance. A police officer told the crowd to disperse. Then the
officer tumed on a painfully loud siren. Everyone began to scream and hold their
ears because the siren was so loud. The siren was painful and disorienting.

The crowd remained tense but nonviolent. At some point the police began
lunging and arresting people seemingly at random. The people arrested were
violently pushed to the ground and restrained. I saw at least three people arrested
at that time, at the corner of East Blvd. and France Street.

At about 6:30 PM the police removed their gas masks all at once. Police began
taking shelter in a yard across the street with permission of the homeowner,
There were some additional arrests. The police kept telling the protesters to
disburse and saying that they could not be on the streets or sidewalks.

By 6:40 PM we noticed that police vehicles were blocking both sides of East
Blvd. We stayed in this position and things were tense for about an hour.

At 7:30 PM there was a line of police officers several rows deep on either end of
East Blvd, and in front of us. We were completely surrounded. The police kept
telling the protesters to disperse, but we were trapped and had nowhere to go.
The line of police, which appeared to be state police and officers from the
sheriff's department, began advancing down East Blvd with assault rifles and
batons. They closed in on the yard where we were all taking shelter. 1 was right at
the corner of the yard. The officers crouched as if ready to lunge at us. Then
without warning they began running into the yard with their guns. Everyone
began screaming and running through the yard. We were able to exit out of the
back of the yard onto France Street. It was extremely chaotic and frightening.
While we ran 1 could see officers tackling and arresting people at random.

I was afraid I had lost my Legal Observing partner but I found her on France
Street behind the house. She had scraped up her leg when she fell while running
out of the yard,

On France Street, I saw a line of two or three dozen police officers plus the
aforementioned police vehicle begin to advance down France Street toward us.
We kept retreating toward the church. The police officers kept telling us to
disburse.
Case 3:16-cv-00463-JWD-RLB Document 2-3 07/13/16 Page 8 of 19

13. I saw a white male officer chase a young black woman down the street when she
tried to get to her cell phone, which she had dropped.

14. People were disoriented and frightened. When we got back to the church parking
jot people began to disperse, The police stopped advancing.

15. Because of the actions of the police I was very afraid someone would get shot or
that they would tear gas us. The police were arresting Legal Observers as well as
civilians. It is frightening to think about Legal Observing in the aftermath of what
{ witnessed.

16. I declare under penalty of perjury, that the foregoing is true and correct,

Executed on this 12th day of July 2016.

Ge. Al—

Hannah Adams
Case 3:16-cv-00463-JWD-RLB Document 2-3 07/13/16 Page 9 of 19

Exhibit G
IN THE UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF LOUISIANA

American Civil Liberties Union of Louisiana; Louisiana
Chapter of the National Lawyers’ Guild; New Orleans Workers’
Center for Racial Justice; Black Youth Project 100,

Plaintiffs,
-V5-

City of Baton Rouge; Baton Rouge Police Department; Carl
Dabadie, Jr., in his official capacity as Chief of the Baton Rouge
Police Department; Louisiana State Police; Louisinana
Department of Public Safety; Col. Michael Edmonson, in his
official capacity as Superintendent of the Louisiana State Police;
East Baton Rouge Sheriff's Department; Sid J. Gautreaux IH, in
his official capacity as Sheriff of the East Baton Rouge Sheriff's
Department; Jeff Landry, in his official capacity as Attorney
General of the State of Louisiana; Kip Holden in his official
capacity as the Mayor-President of East Baton Rouge Parish;
Hillar C. Moore, ILE, in his official capacity as District Attorney
for East Baton Rouge Parish; Department of Public Safety
{Louisiana State Police)

Defendants.

DECLARATION OF ADINA MARX ARPADI

Pursuant to 28 U.S.C.§ 1746, I hereby declare as follows:

 

CIVIL ACTION
NO.:

Motion for Temporary
Restraining Order
and Preliminary
Injunction

Oral Argument
Requested

1. My name is Adina Marx Arpadi. My date of birth is September 15, 1990.

2. I legal observed a protest in downtown Baton Rouge on Sunday July 10, 2016. I
was trained as a legal observer by the American Civil Liberties Union of

Louisiana.

3. We were at Government and East Street. Around 5:30pm, protestors walked from
the Wesley United Methodist Church down government Street. Police showed up
in many different cars. Some were in full riot gear and carrying assault rifles.
Others were in regular uniform. They had flex cuffs. They told us to clear the

street.

4, Protestors were not sure what the police wanted them to do. It was clear to me
that they wanted people to clear the street, but I think some people couldn’t hear
the instructions. Also, people were not sure where to go, and orders concerning
how long people had to clear the street were conflicting.

5. The crowd turned right down East Blvd. The police were staging Europe Street

and 10" street.

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Protestors started gathering on the porch of a house on the corner of East and
France. There were also protestors in the street on East Street, but they were not
obstructing traffic.

Police started coming down France Street from 10" Street with ear-splitting
LRAD military sirens, a police tank, assault rifles, and gas masks. There were
about 40 or 50 of them, in a formation of four or five rows of about ten.

. As the police were approaching, I saw the contents of a garbage can being thrown.

The police then began lunging at the crowd.

As people scattered, the police were randomly tackling people and throwing them
to the ground. | saw at least three people get arrested.

I also saw a man in a purple shirt standing on private property on the corner of
France St and East St, standing in the yard. Police suddenly arrested him for
unknown reasons. He was not provoking the police at all.

Protestors went back to the other side of East Street. One homeowner, Lisa
Batiste, invited homeowners into her yard. Many people were on the sidewalk in
front of her house and standing in her yard. Around 7:30pm, we suddenly realized
that the police had surrounded us. There were lines of police on either side of East
Street and on France St. There were both police at the scene, and they had full riot
gear on, in line formation. Sheriff's seemed to be at the front of the line with the
largest shields.

We were in front of the house, on the side farther from Government Street. As
the police line drew closer to the house, they spread out on to the sidewalk in
addition to the street, so the police were blocking the sidewalk with their bodies.
We couldn’t turn right to go down East, we couldn’t go straight because another
line of police were coming in, and we couldn’t go left because of another line of
police. The only place to go was into her yard. Once in the yard, they then
charged towards and into the yard, chasing people farther back into the yard. Her
back yard connects to the street, so people ran through the front yard, into the
back yard, and then onto France Street.

I saw police chasing people and tackling protestors as they left her yard onto
France Street. This occurred either on or immediately next to her property. I could
not tell at the time.

The police began pushing the crowd up France Street, past Maximilian, past St.
Joseph, and finally past the McDonald’s right before Napoleon. They said several
times “this is an unlawful assembly.” We saw a light skinned black woman
arguing with a white police officer in a white and blue polo shirt in the
McDonald’s parking lot. He started chasing her, and she ran away.

2 of 3
Case 3:16-cv-00463-JWD-RLB Document 2-3 07/13/16 Page 12 of 19

15. I plan to do more legal observing of upcoming protests. Out of fear for my own
safety, I attended an additional training session for legal observers.

16. I declare under penalty of perjury, that the foregoing is true and correct.

Executed on this 12th day of July 2016.

Cm (hh. flaf,

Adina Marx Arpadi

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Case 3:16-cv-00463-JWD-RLB Document 2-3 07/13/16 Page 13 of 19

Exhibit H
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